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                           UNITED STATES OF AMERICA
                         UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF MICHIGAN
                               NORTHERN DIVISION

CHERYL REED and MICHAEL WILLIAMS

                      Plaintiff,                  Case No. 2:15-cv-57

v.                                                HON. R. ALLAN EDGAR

STEVEN NEIHEISEL et al

                Defendant.
____________________________________/

                                   MEMORANDUM OPINION

        This case is before the Court on plaintiffs' request for a preliminary injunction

pursuant to Rule 65 of the Federal Rules of Civil Procedure. The plaintiffs are Michael

Williams (“Williams”), Managing Editor of the North Wind, a student newspaper at

Northern Michigan University (“NMU” or “The University”); and Cheryl Reed (“Reed”),

the faculty Journalistic Advisor to that publication. They bring their case pursuant to 42

U.S.C. § 1983 against four students who served on the newspaper's Board of Directors

(the “Board”), and Steven Neiheisel, who is employed by NMU as Vice President for

Enrollment Management and Student Services. Mr. Neiheisel also serves as a member

of the Board. Plaintiffs' claim is that these defendants have engaged in a pattern of

conduct designed to chill plaintiffs' First Amendment rights; and have retaliated against

them for the exercise of their First Amendment rights. Plaintiffs ask the Court to enter a

preliminary injunction “retaining Reed in the Journalistic Advisor Position”. This

memorandum is the Court's resolution of the preliminary injunction request. Plaintiffs

also ask the Court to enter an order enjoining defendants “from considering the
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viewpoints expressed in The North Wind as a basis for decisions affecting the structure,

governance and functioning of the newspaper, including the selection and retention of

the Journalistic Advisor and editors”; and enjoining defendants “from using their

authority to retaliate in any way for plaintiffs' assertion of constitutionally protected

rights.” Plaintiffs do not seek to recover damages, but do request costs, attorney's fees

and expenses.



                                               I.

       The North Wind is governed by a Board of Directors. The purpose of the Board,

according to its by-laws, is to “publish and distribute a weekly newspaper which

provides an open forum for expression of ideas and opinions and contains news of

interest to students of Northern Michigan University.” At this juncture, it is not clear how

the Board came into existence. The Board is responsible for the general management

of the paper. It appoints the Editor and Business Manag er. The Editor is responsible to

the Board for “the editorial content and tone of the newspaper.” While the editor has

the authority “to establish editorial policy, he/she shall, nonetheless, be responsible f or

providing a balanced presentation of news and opinions, striving constantly for

completeness, timeliness, accuracy and objectivity.” The by-laws provide for a

“Journalistic Advisor” (Plaintiff Reed in this case) “to provide advice in matters

pertaining to journalistic style, quality, accuracy, content, objectivity, ethics, etc.” The

Journalistic Advisor does not determine the content of the newspaper. Students make

all content decisions.

       The nine member Board consists of five students (three appointed by the Board

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itself and two designated by student government subject to Board approval). Other

Board members are a member of the faculty selected by the Board; one person from

professional news media who is not employed by NMU, but is appointed by NMU's

president; NMU's Assistant Provost for Student Services and Enrollment or his or her

designee (Defendant Neiheisel in this case); and a the Journalistic Advisor. The

Journalistic Advisor is selected annually by the English faculty and department head

from faculty members, with their choice being subject to the approval of the Board as

well as the editorial staff. As the Provost's designee, Neiheisel also acts as Financial

Advisor.

       Student Board members receive neither monetary compensation nor academic

credit for their service. Only the Board itself has the exclusive power to remove any

director. It only may do so by a two-thirds vote. However, the removal of the Associate

Provost for Student Services and Enrollment, (or his designee) as well as the news

media representative, requires the approval of NMU's President. The North Wind is

funded through the sale of advertising and a dedicated portion of a student activity fee.

Amendments to the by-laws can be made by a two-thirds vote of the Board, but must

be approved by student government and the NMU President.

       In October and November of 2014, the North Wind published news stories

critical of a contract entered into between Starbucks and NMU. The author was

someone at the North Wind, who is not a participant in this litigation. The editorial staff

submitted several requests to NMU under Michigan's Freedom of Information Act

(FOIA) to obtain information. The University wanted $300 for expenses incurred in

connection with an FOIA request. The Board (including the defendant students) voted

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to deny the request. The reasons for this vote are in dispute. However, the University

later waived the fee. In October 2014, the North W ind published a controversial story

about sexual assault on campus. It is evident that Plaintiff Williams was not associated

with the North Wind when these articles were published. In March 2015, the North

Wind published a piece critical of the travel expenses incurred by members of the

University Board of Trustees. This generated a University-wide e-mail from the chair of

the University's Board of Trustees critical of the North Wind article.

       On April 3, 2015, the Board decided by a 5-4 vote to not approve Reed as the

Journalistic Advisor, for the next school year, even though she had been selected by

the English Department. The reasons for this action are hotly contested. The English

Department later selected someone else, which the Board approved, but not the

Editorial staff. So as of now, the Board is without a Journalistic Advisor for the 2015-16

school year. Reed remains as a member of NMU's faculty. Williams applied to the

Board for the Editor position, but after his interview, he was not selected. The reasons

for this non-selection are very much in dispute. He remains as Managing Editor.



                                              II

       When considering a motion for a preliminary injunction, this Court must consider

four factors: (1) the plaintiffs' likelihood of success on the merits; (2) whether the

plaintiffs may suffer irreparable harm absent the injunction; (3) whether granting the

injunction will cause substantial harm to others; and (4) the impact of an injunction upon

the public interest. Deja Vu of Nashville, Inc. v. Metro. Gov’t of Nashville & Davidson

Cnty., 274 F.3d 377, 400 (6th Cir. 2001).

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       A.     Likelihood of Winning on the Merits

              1. State Action

       Because plaintiffs are suing defendants under 42 U.S.C. § 1983 for violation of

their First Amendment rights, they must demonstrate that (1) there was a constitutional

violation and (2) the violation was committed by a state actor. West v. Atkins, 487 U.S.

42, 48 (1988); Mezibov v Allen, 411 F.3d 712, 716 (6th Cir 2005).

       The Court turns first to the second of these requirements - whether the

defendants were state actors. The defendants in this case are four student Board

members who voted not to approve Reed as Journalistic Advisor. The fifth vote was

supplied by Mr. Neiheisel. As an employee of NMU, a public state university, he is

unquestionably a state actor. However, whether the four student defendants are state

actors presents an entirely different question. Private individuals may only be treated

as state actors if their actions are fairly attributed to the state. Lugar v. Edmondson Oil,

Co., 457 U.S. 922, 937 (1982); Street v Corr. Corp. of Am., 102 F.3d 810, 814 (6th Cir.

1996). Although private actions may deprive an individual of a Constitutional right, they

are subject to liability under § 1983 only when done under color of state law because

rights secured by the Constitution are protected only against infringement by

governments. Flagg Bros., Inc. v Brooks, 436 U.S. 149, 156 (1978). The student

defendants are indeed private individuals.

       Courts have devised various “tests” to determine whether particular conduct is

state action. The first of these tests is the “Public Function Test.” To show a person

has acted under the color of state law pursuant to the Public Function Test, a plaintiff

must show that the private entity exercised powers that are traditionally and exclusively

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reserved to the state, such as holding elections or eminent domain. Flagg Bros., Inc.,

436 U.S. at 157; Wolotsky v. Huhn, 960 F.2d 1331, 1335 (6th Cir. 1992). T he Public

Function Test is interpreted narrowly and is rarely applied. Carl v Muskegon Cnty., 763

F.3d 592, 595 (6th Cir. 2014); Chapman v Higbee Co., 319 F.3d 825, 833 (6th Cir.

2003). Only such functions like holding elections, operating a company-owned town,

and eminent domain issues have been considered categories of state action under the

test. Chapman 319 F.3d at 833-34. Under the Public Function T est, a historical

analysis is used to determine whether the private action complained of is an action

traditionally exclusively reserved to the state, and the plaintiffs bear the burden of

advancing historical and factual allegations to support this assertion. Marie v American

Red Cross, 771 F.3d at 344, 362 (6th Cir. 2014); Wittstock v Mark A. Van Sile, Inc., 330

F.3d 899, 902 (6th Cir. 2003).

        Contrary to the plaintiffs' assertion, the non-approval of Reed as Journalistic

Advisor was not the exercise of a power exclusively reserved to the state. The same

can be said about Williams' non-selection as Editor. All sorts of entities, public and

private, make personnel decisions. Moreover, it certainly cannot be said that publishing

a weekly newspaper is a power reserved exclusively to state government. It is

noteworthy that the defendants' acts had no impact on Reed's employment by the

University. Defendant students are not state actors by virtue of the “public function”

test.

        A second state action test is the “Symbiotic Relationship or Nexus Test.” Here,

there would only be state action if there is shown to be a sufficiently close nexus



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between the state (NMU) and the challenged action of the student defendants. Wilcher

v City of Akron, 458 F.3d at 516, 520 (6th Cir. 2007), Wolotsky, 960 F.2d at 1335. This

test is applied in situations where there is an entity that is to some extent regulated by

the state, like a cable operator, (Wilcher, supra). Community mental health centers

(Wolotsky, supra); “Memphis in May” festival (Lansing v City of Memphis, 202 F.3d 821

(6th 2000)). In this case, it does not appear that NMU reg ulates these students, or the

Board on which they serve. The Board is essentially an independent entity controlled

by students who are not selected or removable by NMU. Even if these defendants

were extensively regulated, this would not justify a state action finding. The Board (not

the students) does receive a portion of a student activity fee. However, public funding

is not enough to satisfy this test. Lansing, 202 F.3d at 830. Finally, the minority

presence of Mr. Neiheisel on the Board does not convert the Board (nor the students)

into state actors. Id. at 831. Whatever connections exist between NMU and the Board

fall far short of making either the Board or the defendant students state actors under

this test. See Husain v. Springer, 494 F.3d 108, 135 (2d Cir. 2007)

       The “entwinement test” is a third state action test. In order to demonstrate state

action under the entwinement test, plaintiffs must show that the defendants were

entwined with governmental policies or that the government is entwined in the private

entity's management or control. Brentwood Acad. v Tenn Secondary Sch. Ath. Ass'n,

531 U.S. 288, 296 (2001); Marie, 771 F.3d at 363; Hughes v Region VII Area Agency

on Aging, 642 F.3d 169.178 (6th Cir. 2008). “The crucial inquiry under the

entwinement test is whether the 'nominally private character' of the private entity is



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overborne by the pervasive entwinement of public institutions and public officials in its

composition and workings [such that] there is no substantial reason to claim unfairness

in applying constitutional standards to it.” Marie, 771 F.3d at 364.

       There are some small tentacles connecting the Board and NMU, as related

above. However, clearly the Board is not entwined with NMU. The by-laws make this

very clear. The seminal case giving rise to the “entwinement” test is Brentwood Acad.,

531 U.S. 288 (2001), where state action was found on the part of a state athletic

association which was comprised mostly of state school officials. Mr. Neiheisel's

presence as one member of a nine-member board does not amount to entwinement.

       Finally, the fourth state action test is the “State Compulsion” Test. Under the

State Compulsion Test, the actor(s) must “exercise such coercive power or provide

such significant encouragement, either overt or covert, that in law the choice of the

private actor is deemed to be that of the state.” Wolotsky, 960 F.2d at 1335 (citing

Blum v Yaretsky, 457 U.S. 991, 1004 (1982)). “More than mere approval or

acquiescence of the private party is necessary to hold the state responsible . . .” Id. at

1335 (citing Blum, 457 U.S. at 1004). While funding and personnel choices have been

deemed ways in which coercion may take place, these are not the only factors to

consider. See id. at 1336. There is a factual dispute about whether, and if so, to what

extent, defendant Neiheisel prevailed upon the four student defendants to disapprove

Reed as Journalistic Advisor. However, plaintiffs have not asserted that Neiheisel in

any way compelled the defendant students to vote to oust Reed. The most plaintiffs

have said is that Neiheisel “influenced” the students. Even if the students were so



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influenced by a state actor, this would not be sufficient to establish state action. See

e.g., Lansing, 202 F.3d at 829 (noting that offering to assist or a request to consider did

not amount to “significant encouragement” under the state compulsion test); Wolotsky,

960 F.2d at 1335 (noting that more than mere approval is needed to constitute state

compulsion). If he did somehow put pressure on these students to remove Reed, he

could conceivably have been engaged in actionable state action. It's difficult to

imagine, however, how much pressure could be imposed on non-compensated student

Board members who could not even be removed from the Board except by a super

majority vote.

       In summary, the Court cannot say that it is more likely than not that plaintiffs will

succeed in establishing that the defendants (with the exception of Neiheisel) were state

actors.

                 2. First Amendment

       Even if plaintiffs have shown that defendants engaged in state action, the Court

is unable to conclude that they have demonstrated that a First Amendment

Constitutional violation occurred. The heart of their claim is that defendants retaliated

against Reed and Williams by “removing Reed from the position of Journalistic Advisor

as a part of a pattern of conduct to suppress the expression of content and viewpoints

critical of the University.” To succeed on this retaliation claim, plaintiffs must show

                 (1) that plaintiff was engaged in a constitutionally protected activity;
                 (2) that the defendants' adverse action caused the plaintiff to suffer
                 an injury that would likely chill a person of ordinary firmness from
                 continuing to engage in that activity; and (3) that the adverse action
                 was motivated at least in part as a response to the exercise of the
                 plaintiffs' constitutional rights.


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Leary v Daeschner, 228 F.3d 729, 737 (6th Cir. 2000) (citing Bloch v Ribar, 156 F.3d

673, 678 (6th Cir. 1998). If a plaintiff makes this showing, the burden shifts to

defendants to show that they would have taken the same action even in the absence of

the First Amendment protected conduct. Id.

       (1) First Amendment Protected Activity. The allegation here is that Reed was not

approved as Journalistic Advisor to punish her and her students, including Williams, for

the content of the North Wind and to deter Williams and his editorial staff from

engaging in investigative journalism unflattering to the University in the future.” The

problem with this assertion is that plaintiffs have failed to demonstrate that they

engaged in any protected conduct. It appears that W illiams was not even affiliated with

the paper in the Fall of 2014 when the Starbucks and sexual assault articles were

published. When asked during oral argument what articles Williams had written, the

Court learned that he did not have so much as a byline for anything published critical of

the University. It is not at all clear that Williams, as a late arriving Managing Editor, ever

engaged in protected speech.

       As to Reed, there is substantial question whether she ever engaged in protected

speech. There is no allegation that she ever said or wrote anything in the North Wind

that was protected speech. In fact, in her role as advisor, she has no control over the

paper's content. She only advises the paper's editors; and at this point, there is nothing

in the record to reveal what advice, if any, she may have given them. Nor is there any

indication that the editors took whatever advice was offered. Plaintiffs rely on Coppola

v. Larson, 2006 WL 2129471 (2006), a U.S. District Court case, unreported in F.Supp.,

from New Jersey which does summarily conclude that removal of an advisor to a

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student newspaper can be a “particularized actual injury” to the paper's editors. Id. at

*8 The Court finds this case unpersuasive here, where other than Williams' bare

assertion, there is no indication that W illiams' First Amendment rights will suffer from

Reed's absence. Moreover, there is no indication that another faculty member would

not be able to adequately fulfill the advisor function. In fact, Williams says in an

affidavit that “[he] intend[s] to remain active as a student journalist during the 2015-

2016 school term and to submit articles for publication , , , as I have in the past.” It

should also be noted that the advisor in Coppola was terminated after 35 years of

service; received a salary for the advisor job; and was terminated directly by the

institution's administration, not a student-led board.

       The only other “student advisor” case cited by plaintiffs is Moore v. Watson, 838

F. Supp. 2d 735, (N.D. Ill. 2012). The court in Moore relied heavily on an Illinois statute

(The College Campus Act, 110 ILCS 13/1) in concluding under the facts of that case

that student editors and a faculty advisor engaged in protected activity in connection

with a school paper. Plaintiffs have pointed to no similar Michigan statute. In Moore,

the court found that the university itself engaged in all sorts of egregious speech

inhibiting conduct directed at the Student Advisor (including direct termination) as well

as the newspaper. Noteworthy again, is that the advisor's termination was done by the

University's President, not a student-led Board. Moore is not analogous to this case.

       Finally, Plaintiffs' cite Cockrel v. Shelby Cnty. Sch. Dist., 270 F.3d 1036, 1056

(6th Cir. 2001) for the proposition that Reed's First Amendment rights were infringed

even though she may have never said anything. Here an elementary school English



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teacher was terminated after she selected a speaker to come to her class to talk about

hemp, from which marijuana can be derived. She was terminated by the school

superintendent. The Sixth Circuit upheld her First Amendment retaliation claim even

though she was not the speaker. However, it was quite clear that the hemp message

was something that the teacher wanted to convey, albeit through a third party. Here it

is not at all clear that Reed intended to convey any message of public concern

regarding NMU. In fact, it was not her job to do so. She had no control ov er editorial

content of the North Wind.

        To the extent that Reed may be claiming that she engaged in protected activity in

the course of her job duties by sending emails and complaining to the University about

FOIA requests, this would not be protected activity. “When public employees make

statements pursuant to their official duties, the employees are not speaking as citizens

for First Amendment purposes, and the Constitution does not insulate their

communication from employer discipline”. Garcetti v Ceballos, 547 U.S. 410, 421,

(2006).

        In short, it is by no means likely that plaintiffs will be able to show that Reed was

engaged in protected activity.1



        1
           Plaintiffs do not seek damages. However, it is worth noting that assuming for the moment that
Reed was terminated by state actors for engaging in protected activity, they would likely be entitled to
qualified immunity for any damages (though not injunctive relief). Qualified immunity shields a state actor
from suit unless that actor violated clearly established federal law. Lane v Franks, 134 S.Ct. 2369, 2381
(2014). The right must be “sufficiently clear” so that every “reasonable official would have understood that
what he is doing violates that right.” Ashcroft v Al-Kidd, 131 S. Ct. 2074, 2083 (2011) Reed's claim that
she was engaged in protected activity when she advised the students is not clearly established by federal
law. Nor is Williams' claim that his rights were violated when Reed was terminated. The right must be
clearly established, and two decisions from District Courts outside this jurisdiction are not enough to
satisfy the first prong of qualified immunity. Wilson v Layne, 526 U.S. 603, 617 (1999).

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       Another problem for Reed is that she likely lacks standing to bring a section 1983

claim on behalf of Williams or the other student editors by alleging that their speech

was chilled when she was not renewed as student advisor. Section 1983 creates a

cause of action for deprivation of civil rights “to the party injured” by the alleged

constitutional violation. Barber v Overton, 496 F.3d 449, 457 (6th Cir. 2007); Claybrook

v Birchwell, 199 F.3d 350, 357 (6th Cir. 2000); Jaco v Bloechle, 739 F.2d 239, 241 (6th

Cir. 1984). Section 1983 is “entirely personal to the direct victim of the alleged

constitutional tort” and only applicable to the purported victim or that victim’s estate.

Barber, 496 F.3d at 457; Claybrook, 199 F.3d at 357. Reed does not claim to be the

direct victim of the alleged chilled speech and she certainly does not represent any

victim’s estate.

       One wrinkle in the standing issue involves third-party retaliation claims in Title VII

actions. Courts have found that a third-party employee can maintain retaliation claim

against an employer if the third-party employee was fired in order to retaliate against

that third-party employee’s close family member for engaging in a protected activity.

Thompson v North American Stainless, LP, 562 U.S. 170, 174 (2011); Benison v Ross,

765 F.3d 649, 657–58 (6th Cir. 2014). In Thompson, the Court found that Thompson

could maintain his retaliation claim when he was fired because his fiancée engaged in a

protected activity, filing a gender discrimination charge with the EEOC. 562 U.S. at

172. The Court explained that the broad antiretaliation provision of Title VII, that

prohibits any employer action that “well might have dissuaded a reasonable worker

from making or supporting a [discrimination] charge,” includes reprisals for close family



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members. Id. at 174 (quoting Burlington N. & S.F.R. Co. v White, 548 U.S. 53, 68

(2006)). Although the Supreme Court has not identified a “fixed class of relationships

for which third-party reprisals are unlawful,” it recognizes that firing a close family

member will almost always meet this standard, whereas firing a mere acquaintance “will

almost never do so.” Id. at 175.

       Similarly, in Benison, an employee brought a Title VII retaliation claim, alleging

that she was fired by her employer (a university) because her spouse (a student) was

involved in passing a no-confidence resolution against the universities President and

Provost. 765 F.3d at 658. Because the university did not dispute the spouse’s

standing, the Sixth Circuit assumed standing and addressed the merits of the retaliation

claim. Id.

       Here, Title VII, and its broad anti-retaliation provision, is not present. Neither the

Supreme Court nor the Sixth Circuit have extended third-party retaliation claims beyond

Title VII. This Court finds no analogous statutory authority with which to extend the

third-party reprisal principle to this case. Therefore, ordinary section 1983 standing

principles apply and Reed lacks standing to allege that speech of Williams and the

student editors is chilled. This also means that Coppola and Moore, supra are contrary

to the third party standing rule in the Sixth Circuit

       Putting aside the second element of a First Amendment retaliation claim (that

Reed suffered an injury that would likely chill First Amendment expression), plaintiffs

are required to prove that the defendants were motivated, at least in part, by Reed's

exercise of her constitutional rights. Here we have a substantial dispute on the facts.

       Plaintiffs claim that Reed's appointment was not approved because of her

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advocacy for investigative journalism and journalist's rights. Plaintiffs contend that

defendants removed her to punish the North W ind for unflattering news coverage on

the University. On the other hand, defendants say in their affidavits that their vote was

motivated by Reed being “abusive, needlessly confrontational and unbearably

egotistical in her interactions” with Board members. They also say that she was acting

beyond her role as Advisor and impermissibly took on duties allocated to students. T his

is a factual dispute that the court is not now in a position to resolve, having not heard

any testimony. The Court therefore cannot conclude that plaintiffs would likely (or not

likely) be able to carry their burden of proof on this issue. For this reason, and for the

other reasons discussed above, it cannot be said that plaintiffs are likely to prevail on

the merits.

                                             III

       The remaining considerations for the Court's decision on injunctive relief do not

outweigh the above considerations. If plaintiffs' First Amendment rights were indeed

violated, they would have suffered irreparable harm, upon denial of the injunction. Elrod

v. Burns, 427 U.S 347, 373 (1976). Moreover, it cannot be said that the requested

injunction would result in great harm to Mr. Neiheisel, who is likely to remain the only

defendant in this case if the case is not dismissed in its entirety. However, the public

interest would not be served if the Court were to issue an injunction that would not be

legally sustainable.

                                             IV

       Finally, injunctive relief that the Court could grant may well be ineffectual.

Plaintiffs have sued four students and an NMU official. These are five members of the

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nine member Board who voted not to approve Reed. Plaintiffs ask for a preliminary

injunction requiring them to retain Reed. Yet as set forth above, these students are not

state actors, and cannot be enjoined. In addition, one of the students is, according to

his affidavit, no longer a student, and presumably no longer a member of the Board.

Hence, even if the other students remain on the Board, they no longer command a

majority. Further, Reed's reinstatement is still subject to the re-submission of her name

by the English Department (not a party to this case) and approval by the editorial staff

(not parties to this case). The only defendant in this case who is a state actor is Mr.

Neiheisel. He is in no position, as one member of the nine member Board, to reinstate

Reed.

                                             V

        At this point it seems that this case is mostly sound and fury.   It really comes

down to who is the North Wind? The North Wind is the Board, along with the Editor it

appoints, and the Journalistic Advisor it approves. The Editor is responsible to the

Board for editorial content. The Journalistic Advisor is also responsible to the Board in

that he/she is subject to annual approval. The Board, and each of its members, have

First Amendment rights as well as the plaintiffs. If indeed the defendants were

motivated in the action they took by the editorial content of the North Wind, they were

only doing their job as required by the by-laws. This case seems to have been

spawned by what amounts to an editorial dispute between different people involved with

the newspaper. The dispute may well have been avoided if those involved, including

Reed, had talked to each other during the school year, and tried to reach a consensus.

Instead, we have the odd spectacle of a professor suing her students. Much of the

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complaint is directed at events which did not in any way involve the defendants.

Plaintiffs seem to want this case framed as censorship of a student newspaper by a

university. That is simply not this case.

       An order will enter denying the request for a preliminary injunction.



Dated:7/13/2015                                 /s/ R. Allan Edgar
                                            R. ALLAN EDGAR
                                            UNITED STATES DISTRICT JUDGE




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